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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BARBARA SMITH,                                )
    Plaintiff,                                )
                                              )
v.                                            )       Case No.: 1:18-cv-3322
                                              )
EVERGREEN MOTORS, INC., d/b/a                 )       JURY DEMANDED
EVERGREEN KIA, HARRY MAYS,                    )
JOHN JAGER, AND GARY                          )       Judge: John J. Tharp Jr.
ZELEZNAK,                                     )
                                              )
       Defendants.                            )

                   AGREED MOTION TO STAY PROCEEDINGS
               PENDING OUTCOME OF ARBITRATION PROCEEDINGS

       NOW COMES, Plaintiff Barbara Smith (“Plaintiff”), and Defendants, Evergreen Motors,

Inc., d/b/a Evergreen Kia, Harry Mays, John Jager and Gary Zeleznak (collectively “Defendants”),

by and through their undersigned counsel, and for their Agreed Motion to Stay Pending the

Outcome of Arbitration Proceedings, states as follows:

       1.      On June 17, 2017, Plaintiff filed her Complaint in the Law Division of the Circuit

Court of Cook County, Illinois. Plaintiff’s Complaint alleged violations of the Illinois Human

Rights Act, Illinois common law, and the Illinois Gender Violence Act.

       2.      On October 19, 2017, Defendants filed their Motion to Compel Arbitration and

Motion to Dismiss Pursuant to 735 ILCS 5/2-619. Following Plaintiff’s response, the Motion to

Compel Arbitration was granted. Exhibit A. As a result, the case was assigned to arbitration before

Judge Wayne Andersen. Accordingly, Plaintiff filed her Notice of Intention to Arbitrate on March

9, 2018. Exhibit B. Plaintiff’s Notice of Intention to Arbitrate alleged causes of action under Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 1981 of the Civil Rights Act of 1866, Illinois

common law, and the Illinois Gender Violence Act.
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       3.      On May 9, 2018, Plaintiff filed her Complaint in the United States District Court

for the Northern District of Illinois alleging causes of action under the Illinois Human Rights Act,

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 1981 of the Civil Rights Act of 1866, Illinois

common law, and the Illinois Gender Violence Act. Plaintiff’s Complaint includes similar factual

and legal allegations to those included in Plaintiff’s Notice of Intention to Arbitrate.

       4.      Since then, and to promote judicial efficiency, the parties have jointly agreed to

request this Court stay the above-captioned matter pending the outcome of the arbitration

proceedings. The arbitration proceedings may ultimately have a bearing on this case through the

doctrines of claim preclusion or issue preclusion and, therefore, permitting the arbitration

proceedings to continue on the merits while staying this case will promote the most efficient use

of this Court’s and the parties resources.

       5.      Therefore, the parties respectfully request that this Court enter an order staying this

matter until the conclusion of the arbitration proceedings.

       WHEREFORE, Plaintiff and Defendants respectfully request that this Court stay this

matter until the conclusion of the arbitration proceedings before Judge Wayne Anderson and to

grant other relief this Court deems fair and just.



 Dated: June 12, 2018                                Respectfully submitted,


 s/ Adrian Jonak                                     s/ Maria Granjean
 Uche Asonye                                         Maria C. Granjean
 Adrian Jonak                                        Gordon & Rees, Scully, Mansukhani
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                                                     Attorneys for Defendants
 Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that on June 12, 2018 the foregoing Agreed Motion to
Stay Proceedings Pending Outcome of Arbitration Proceedings was filed electronically with the
Clerk of Court using the ECF system, which will send notification of such filing to the
following:


Maria C. Granjean
Gordon & Rees, Scully, Mansukhani
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                                                         /s/ Adrian Jonak________

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